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15                             UNITED STATES DISTRICT COURT

16                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

17    UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS

18                Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
                                                AND RESPONSE TO PRESENTENCE REPORT
19                     v.                       AND RECOMMENDATION LETTER FOR
                                                DEFENDANT MICHAEL JOHN AVENATTI;
20    MICHAEL JOHN AVENATTI,                    MEMORANDUM OF POINTS AND
                                                AUTHORITIES; DECLARATION OF
21                Defendant.                    SPECIAL AGENT REMOUN KARLOUS;
                                                EXHIBITS
22
                                                [Victim Impact Statements Lodged
23                                              Concurrently Under Seal]

24                                              SENTENCING HEARING:
                                                Date: November 7, 2022
25                                              Time: 9:00 a.m.

26

27          Plaintiff, United States of America, by and through its counsel

28    of record, the United States Attorney for the Central District of
     Case 8:19-cr-00061-JVS Document 1000 Filed 10/11/22 Page 2 of 52 Page ID #:23773



 1    California and Assistant U.S. Attorneys Brett A. Sagel and Ranee A.

 2    Katzenstein, hereby files its sentencing position and response to the

 3    Presentence Report and Recommendation Letter disclosed on August 22,

 4    2022 (CR 977, 978) for defendant Michael John Avenatti.

 5          The government’s sentencing position is based upon the attached

 6    memorandum of points and authorities; the attached declaration of

 7    Special Agent Remoun Karlous and exhibits thereto; the victim impact

 8    statements concurrently lodged under seal; the files and records in

 9    this case, including the evidence and testimony at trial; and such

10    further evidence and argument as the Court may permit at the

11    sentencing hearing.

12     Dated: October 11, 2022              Respectfully submitted,

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.    INTRODUCTION

 3          Defendant Michael John Avenatti is due to be sentenced following

 4    his pleas of guilty to four counts of wire fraud, in violation of 18

 5    U.S.C. § 1343, and one count of obstructing the due administration of

 6    the internal revenue laws, in violation of 26 U.S.C. § 7212.

 7          Defendant, a now-suspended plaintiff’s attorney, stole from his

 8    clients instead of advocating for them.         Although the details

 9    pertaining to each of the four clients underlying the charges in the

10    indictment differ, the general pattern was the same.            Defendant would

11    lie about the true terms of the settlement agreement he had

12    negotiated for the client, conceal the settlement payments that the

13    counterparty had made, secretly take and spend the settlement

14    proceeds that belonged to the client, and lull the client into not

15    complaining or investigating further by providing small “advances” on

16    the supposedly yet-to-be paid funds.         Through this multi-year

17    fraudulent scheme, defendant stole millions of dollars from his

18    clients.1

19          Defendant was also a tax cheat.        Defendant failed to file Forms

20    941 and pay payroll taxes for Global Baristas US LLC (“GBUS”), and

21    then willfully obstructed the Internal Revenue Service’s (“IRS”)

22    efforts to collect the amounts due.         Defendant obstructed the IRS,

23    by, among other means: making false statements to the revenue

24    officer; directing employees to stop depositing cash receipts; and

25

26
            1A detailed description of this scheme is set out in paragraphs
27    26-67 of the Presentence Report (“PSR”). For this reason, and
      because the Court heard the evidence presented at the trial on Counts
28    1-10, this memorandum does not include a full recitation of the facts
      of the wire fraud scheme.
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 1    changing the company name, Employer Identification Number, and bank

 2    account information listed with his credit card processing company to

 3    avoid IRS levies.2     (PSR ¶ 77.)     In addition, defendant failed to

 4    file individual tax returns (Forms 1040) or pay any personal income

 5    taxes for 2011 through 2017, even though he had a substantial income

 6    and lived lavishly; failed to file partnership returns (Forms 1065)

 7    or pay taxes for Eagan Avenatti, LLP (“EA LLP”), of which he was the

 8    managing partner, for 2013 through 2017, even though EA LLP received

 9    many millions of dollars during those years; failed to file corporate

10    tax returns (Forms 1120) or pay taxes for Avenatti & Avenatti

11    (“A&A”), of which he was president, for 2011 through 2017, even

12    though this entity also received substantial funds; and failed to

13    file Forms 941 and pay payroll taxes for EA LLP.3

14          Defendant’s scheme to defraud his clients was cruel -- often
15    reducing those clients to begging for needed funds and making them
16    feel beholden to him when he “advanced” or “loaned” them funds that
17    were, in fact, the clients’ own money; callous -- blaming and
18    disparaging the supposedly derelict counterparties for the “missing”
19    money that defendant himself had stolen; and calculating -- with

20    defendant exploiting his knowledge of the legal system to conceal his

21    thefts by falsely telling his victims that the settlements were

22    confidential and dire consequences would follow if they discussed

23    their cases with anyone other than defendant.            Defendant’s tax fraud

24    scheme was massive, resulting in losses to the federal treasury of

25

26         2 The PSR contains a detailed description of defendant’s
      obstruction of the tax laws at paragraphs 68-77.
27
           3 Defendant’s failures to file and pay his personal taxes and
28    the taxes of the entities he controlled are described in the PSR at
      paragraphs 141-146.
                                         2
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 1    over $3.2 million from just the failure to pay GBUS payroll taxes and

 2    harming hundreds of his employees whose payroll taxes he stole.

 3    There was no excuse for defendant’s criminal conduct, which was

 4    motivated solely by arrogance and greed.

 5          The seriousness of defendant’s crimes, the deleterious impact --

 6    both financial and emotional -- on the victims, the other aggravating

 7    factors, and the need for specific and general deterrence call for a

 8    significant sentence.      Defendant’s advisory United States Sentencing

 9    Guidelines (“USSG”) range is 262 to 327 months if the Court finds

10    that he has accepted responsibility for his offenses, and 324 to 405

11    months if the Court does not so find.4         As set forth more fully
12    below, if defendant accepts responsibility for his conduct, the
13    government submits that a sentence of 210 months (consecutive to any
14    previously imposed sentences) is appropriate and necessary to achieve
15    the goals of sentencing in this case.5         In the event that defendant
16    does not accept responsibility for his offenses, the government
17    recommends that a higher sentence be imposed.
18    II.   GOVERNMENT’S GUIDELINES CALCULATION AND RESPONSE TO THE PSR
19          The United States Probation Office (“USPO”) disclosed the PSR on

20    August 22, 2022 (CR 978).       A brief summary of the factual support for

21    the guideline calculations as well as objections to the factual

22    findings and guidelines calculation are set forth below.

23
           4 Because defendant pleaded guilty to four wire fraud offenses
24    and one tax fraud offense, the statutory maximum for his crimes is 83
      years, and therefore the Probation Officer erred when she applied
25    USSG § 5G1.2(d) and reduced defendant’s guidelines sentence to 240
      months. (PSR ¶ 265.) See Section II.B.2.d, below.
26
           5 This recommendation is based on defendant’s conduct and the
27    sentencing factors in this case and recognizes that the sentence to
      be imposed will be in addition to the total of five years’
28    imprisonment that has been imposed in defendant’s two other federal
      cases.
                                         3
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 1          A.     Factual Findings

 2                 1.   Offense Conduct

 3          The government generally concurs in the PSR’s factual findings.

 4    As the PSR sets forth, because defendant lied to his clients about

 5    their settlements and his receipt of the settlement money, and stole

 6    from his clients, defendant is not entitled to any credit for his

 7    fees and expenses in determining the loss amount.           (PSR ¶ 95 and

 8    n.15.)     Therefore, the loss in this matter is $12,350,000 based on

 9    defendant stealing: the $4 million settlement of Geoffrey Johnson’s

10    (“Johnson”) lawsuit against the County of Los Angeles (Count 10

11    (“Client 1”); PSR ¶¶ 42-47); $2,750,000 of Alexis Gardner’s

12    (“Gardner”) $3 million settlement with her ex-boyfriend, which

13    defendant used to buy a private jet (Count 9 (“Client 2”); PSR ¶¶ 48-

14    52); the initial $1,600,000 settlement payment of Gregory Barela’s

15    (“Barela”) $1,900,000 intellectual property settlement (Count 5

16    (“Client 3”); PSR ¶¶ 53-58); and $4,000,000 from Michelle Phan’s

17    (“Phan”) settlement with her former company (Count 8 (“Clients 4 and

18    5”); PSR ¶¶ 59-67).      Defendant’s theft of his clients’ money resulted

19    in substantial financial hardship to Johnson, Gardner, and Barela.

20    (PSR ¶¶ 98-101.)

21          To conceal his fraudulent scheme, defendant made

22    misrepresentations and took other fraudulent actions during the

23    course of EA LLP’s bankruptcy (In re Eagan Avenatti, LLP, No. 8:17-

24    bk-11961-CB), including, but not limited to: failing to include

25    Gardner’s settlement payment (or at least the fees) in January 2017

26    on the statement of financial affairs (or the amended statement of

27    financial affairs) that defendant signed under penalty of perjury;

28    opening new bank accounts to deposit Barela and Phan’s settlement

                                               4
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 1     payments and failing to include his receipt of these payments on the

 2     respective Monthly Operating Reports that defendant signed under

 3     penalty of perjury; and stealing Phan’s money to pay creditors,

 4     including the IRS, to get EA LLP out of bankruptcy.           (PSR ¶¶ 102-

 5     105.)    Defendant carried out his fraudulent scheme for over four

 6     years through sophisticated means including, among other actions:

 7     forging Johnson’s signature on his settlement agreement without

 8     providing Johnson the agreement or the terms; providing Barela with a

 9     bogus settlement agreement; moving the stolen settlement proceeds

10     through multiple bank accounts; failing to provide Gardner with a

11     copy of her settlement agreement, lying about the true terms of the

12     agreement, and depositing money into Gardner’s account in a form

13     designed to make her believe the payments were from her ex-boyfriend;

14     splitting up the wire transfers to Phan to enable defendant to claim

15     to Phan and Long Tran (“Tran”) that there were three wire transfers

16     when there were only two; and making lulling payments to Johnson,

17     Gardner, and Barela.      (PSR ¶¶ 106-109.)

18             Defendant lied to Johnson and stole Johnson’s settlement money

19     knowing he was a vulnerable victim, namely, he was a paraplegic with

20     mental health issues who was in need of the money for his living and

21     medical expenses.     (PSR ¶¶ 110-113.)     Defendant also used his special

22     skills as an attorney and abused the trust placed in him by his

23     clients to carry out his scheme.        (PSR ¶¶ 114-115.)     Finally,

24     defendant obstructed justice by perjuring himself in civil

25     proceedings pertaining to the conduct in this case; threatening and

26     intimidating witnesses; and producing false documents in an official

27     proceeding.    (PSR ¶¶ 116-117; see also Section II.B.2.a., below.)

28

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 1             With respect to obstructing the IRS’s ability to collect taxes

 2     owed, defendant failed to pay over to the IRS approximately $3.2

 3     million in federal payroll taxes that had been withheld from the

 4     paychecks of his employees at GBUS; failed to pay over to the IRS

 5     approximately $1.6 million in federal payroll taxes that had been

 6     withheld from the paychecks of his employees of EA LLP; and corruptly

 7     obstructed the IRS’ efforts to collect the moneys that GBUS, which he

 8     controlled, owed to the United States.         (Count 19; PSR ¶¶ 68-77.)

 9                  2.   Objections to the PSR’s Factual Findings

10             The government notes the following updates, clarifications and
11     corrections.6     The government submits that the Court need not rule on
12     these updates, clarifications and corrections because they are either
13     undisputed or will not be considered and/or affect sentencing (See
14     Fed. R. Crim. P. 32(i)(3)(B)):
15             ¶ 47(a): Payments to Johnson and on Johnson’s behalf: From
16     January 30, 2015, through March 22, 2019, approximately 99 payments
17     totaling approximately $282,070 were made to Johnson and for his
18     rent.
19             ¶ 52(a): Payments to Gardner:     From March 2017 to March 2019,

20     approximately 15 payments (either through cashier’s checks or wire

21     transfers) totaling $218,000 were made to Gardner.

22             ¶ 60: Ipsy repurchase agreement:      Ipsy -- not Phan -- agreed to

23     repurchase the Ipsy shares.

24

25

26            The PSR includes findings that are based only on defendant’s
               6
       own statements and are not otherwise corroborated. Although the
27     government does not specifically object, except as noted, to these
       findings because it submits that the information should not
28     materially affect the Court’s sentencing determinations, the
       government does not concede the accuracy of this information.
                                          6
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 1           ¶ 61: Ipsy repurchase agreement:        The total repurchase amount

 2     was $37,168,678.85, not $35,625,228.

 3           ¶ 181: Self-surrender date: Defendant self-surrendered on

 4     February 7, 2022, not 2020.

 5           ¶ 215: Donation to George Washington University Law School:

 6     According to information developed in Parris et al. v. Avenatti et

 7     al., Case No. 19CV1686 (Santa Barbara Superior Court), defendant

 8     funded this payment with monies that he stole from Stoll, Nussbaum &

 9     Polakov, to whom he owed the money pursuant to a fee-sharing

10     agreement.

11           ¶¶ 219-230: Employment Record:       Defendant’s ownership and

12     control of GBUS (as well as his role as CEO), operating Tully’s
13     Coffee, and GB Autosport, LLC, which managed defendant’s car racing
14     team, and the related time periods, should be included (and should
15     have been disclosed by defendant).7        (See ¶ 31(a), (c).)
16           ¶¶ 233-235:    Financial Condition:      Without explanation or
17     authority, defendant failed to provide a personal financial statement
18     and instead relied on a Declaration . . . in Continued Support of CJA
19

20
             7The PSR reports, based on information defendant supplied, that
21     defendant formed a new law firm, Augustus LLP, in 2019. (PSR ¶ 230.)
       In two separate judgment-debtor examinations (“JDE”), however,
22     defendant hid his interests in Augustus LLP from creditors. (Dec. of
       Remoun Karlous, Sentencing Exhibit (“Sent. Ex”) 1 (“Q: who owns
23     Augustus LLP? A: I’m not at liberty to disclose that. It's not me.
       Q: Do you have any direct or indirect interest in Augustus, LLP. A:
24     No. Q: Why are you not at liberty to disclose who owns it? A: Because
       it was established for a client.”); Sent. Ex 2 (“Q: With respect to -
25     - have you ever heard of something called Augusta, LLP? A: Yes. Q: Do
       you know what it is? A: Yeah. It’s a limited liability partnership.
26     Q: Are you a member? A: No. Q: Do you know who the partners are? A:
       No. Q: Do you have any interest in the partnership? A: No.”).)
27     Moreover, although defendant now claims he started Augustus LLP for a
       “clean start” with “different clients,” (PSR ¶ 230) he used the
28     Augustus LLP bank account to make lulling payments to the victims in
       this case and to pay EA LLP employees. (Sent. Exs 3, 4.)
                                          7
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 1     Appointment.     Much of the financial information provided is

 2     unverified. (E.g., ¶¶ 241, 243, 244, 246, 248, 253, 254, 255.)             For

 3     example, although defendant claims to owe approximately $465,000 in

 4     principal on three outstanding loans, no information is provided

 5     identifying the lenders, the terms of the loans or what collateral if

 6     any defendant provided to secure the loans.          (¶ 248.)

 7           B.    Sentencing Guidelines

 8                 1.    Summary

 9           Except as noted below, the government concurs with the

10     guideline analysis in the PSR (¶¶ 85-137) and submits that the

11     applicable guidelines are as follows based on all of the evidence in

12     the record:8

13     WIRE FRAUD
       (Counts 5, 8-10)
14
       Base Offense Level:              7       USSG § 2B1.1(a)(1)             PSR ¶ 92
15
       Loss Greater than
16     $9,500,000:                   +20    USSG § 2B1.1(b)(1)(K)         PSR ¶¶ 93-95
17     Substantial Financial
       Hardship to One or More
18     Victims:                        +2   USSG § 2B.1.(b)(2)(A)        PSR ¶¶ 96-101
19     Misrepresentation or
       Other Fraudulent Action         +2   USSG § 2B1.1(b)(9)(B)       PSR ¶¶ 102-105
20

21
             8The Ninth Circuit has explained that “[i]n the sentencing
22     context, “[w]e review the district court’s factual findings for clear
       error, its construction of the United States Sentencing Guidelines de
23     novo, and its application of the Guidelines to the facts for abuse of
       discretion.” United States v. Halamek, 5 F.4th 1081, 1087 (9th Cir.
24     2021) (internal citation omitted). “A finding of fact is clearly
       erroneous if it is ‘(1) illogical, (2) implausible, or (3) without
25     support in inferences that may be drawn from the facts in the
       record.’” United States v. Valle, 940 F.3d 473, 478 (9th Cir. 2019)
26     (quoting United States v. Hinkson, 585 F.3d 1247, 1262 (9th Cir.
       2009) (en banc) (cleaned up)). Here, the Court can clearly find
27     factual support for the guideline calculations in the record,
       including the trial testimony and evidence as well as in the sworn
28     affidavits in support of the criminal complaint, search warrants, and
       motion to revoke bail in this case.
                                          8
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 1     During the Course of a
       Bankruptcy Proceeding:
 2
       Sophisticated Means:            +2   USSG § 2B1.1(b)(10)(C)      PSR ¶¶ 106-109
 3
       Vulnerable Victim:              +2       USSG § 3A1.1(b)(1)      PSR ¶¶ 110-113
 4
       Abuse of Position of
 5     Trust or Special Skill:         +2              USSG § 3B1.3     PSR ¶¶ 114-115

 6     Obstruction of Justice          +2              USSG § 3C1.1     PSR ¶¶ 116-117

 7
       TAX OFFENSE
 8     (Count 19)

 9     Base Offense Level (Loss        22     USSG §§ 2T1.1(a)(1);
       Greater than $1,500,000)                           2T4.1(I)      PSR ¶¶ 119-123
10
       Sophisticated Means             +2       USSG § 2T1.1(b)(2)            PSR ¶ 124
11
       MULTIPLE COUNT                  --
12     ADJUSTMENT                                  USSG §§ 3D1.1-4      PSR ¶¶ 129-132
13

14                  2.   Objections to the PSR’s Guidelines Calculation
15                       a.   Additional Bases for Applying the Obstruction of
                              Justice Enhancement
16

17             The USPO correctly applied a two-level upward adjustment
18     pursuant to USSG § 3C1.1 because defendant willfully obstructed the
19     administration of justice with respect to the investigation and

20     prosecution of his offense.       This enhancement applies when a

21     defendant “threaten[s], intimidat[es] . . . a witness directly or

22     indirectly, or attempt[s] to do so.”        USSG § 3C1.1, comment.

23     (n.4(A)).     The USPO applied the enhancement based on the threat to

24     Gardner and her ex-boyfriend implied in a tweet defendant posted

25     after a Los Angeles Times article named them as a victim and related

26     party who had been listed anonymously in the indictment.            (PSR ¶

27     117.)

28

                                               9
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 1           Application of this enhancement is also supported by the

 2     following additional facts.       In another instance of threatening and

 3     intimidating a witness, defendant served a trial subpoena on Barela’s

 4     wife when she accompanied Barela to Court, and then used the subpoena

 5     to force her out of the courtroom because there was a witness

 6     exclusion rule.     It is clear these acts were meant to intimidate

 7     Barela and ensure that his wife was not present to support him

 8     because at no point before or after did defendant list Barela’s wife

 9     as a witness.     (CR 723; Sent. Ex 5.)

10           The commentary to the obstruction guideline provides other

11     examples of obstructive conduct warranting the enhancement, two of

12     which are also relevant here.       First, the enhancement also applies if

13     the defendant committed perjury, including in civil proceedings, if

14     such perjury pertains to conduct that forms the basis of the offense

15     of conviction.     USSG § 3C1.1, comment. (n.4(B)).        Defendant provided

16     perjurious under-oath testimony pertaining to the conduct that forms

17     the basis of his offenses of conviction at various JDEs, at his state

18     bar disciplinary hearing, and during the Section 341 hearing during

19     EA LLP’s bankruptcy (at which defendant testified as the managing

20     partner).    For example:

21           •     During a JDE on March 15, 2022, defendant testified that,

22     to the best of his knowledge, Johnson had been paid all the money he

23     was owed and neither defendant nor his firm had any current

24     obligation to make payments to Johnson.         (Trial Exhibit (“Tr. Ex”)

25     404 at 12-14.)9

26

27           9The Trial Exhibits are not attached to the government’s
       sentencing position memorandum because the government understands the
28     Court has a copy of the Trial Exhibits; however, upon the Court’s
       request, the government can provide the Trial Exhibits to the Court.
                                         10
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 1           •     During a JDE on March 22, 2022, defendant falsely testified

 2     that: (a) the $1,600,000 from Brock USA that was deposited into

 3     defendant’s attorney client trust account did not belong to Barela;

 4     (b) Johnson’s matter with the County of Los Angeles had not been

 5     settled in its entirety; (c) the settlement agreement in the Johnson

 6     matter was not the settlement agreement; (d) the Johnson settlement

 7     agreement was confidential; (e) he had “absolutely not” stolen

 8     Johnson’s money; (f) it was “absolutely false” to say that, instead

 9     of paying Johnson his settlement money, defendant had been making

10     small payments; (g) he was sure he gave Johnson a lump sum payment

11     after the $4,000,000 came in; (h) the monies paid to Johnson over the

12     years were “an advance” on future settlement monies; and (i) it was

13     “absolutely false” that Phan, like Barela, had accused him of

14     stealing her money.      (Tr. Ex 405 at 8-26; 406.)

15           •     During defendant’s state bar disciplinary hearing on

16     January 14, 2020 (after the indictment was filed in this case), when

17     the judge asked defendant whether he had informed Barela of the

18     $1,600,000 in settlement funds, defendant: (a) falsely stated “Mr.

19     Barela was fully informed of the receipt of those monies”; (b)

20     falsely claimed that it was Barela who was lying when he said he had

21     not been notified of the $1,600,000 settlement money; and (c) falsely

22     claimed he provided Barela an accounting.         (Sent. Ex 6.)10

23           Second, the enhancement applies if the defendant “produc[ed] or

24     attempt[ed] to produce a false, altered, or counterfeit document or

25     record during an official investigation or judicial proceeding.”

26

27
              Sentencing Exhibit 6 is a transcript of the recording of the
             10
28     January 14, 2020, proceeding. Upon the Court’s request, the
       government will also file a copy of the recording itself.
                                         11
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 1     USSG § 3C1.1, comment. (n.4(C)).        Defendant forged the signature of

 2     his law partner, Michael Eagan, on a settlement agreement to be used

 3     as part of the stipulation to dismiss the EA LLP bankruptcy

 4     proceedings.    (Tr. Ex 342.)     Defendant admitted that he forged

 5     Eagan’s signature on the document during a recorded phone call with

 6     Eagan. (Sent. Ex 7.)11

 7                      b.    No Acceptance of Responsibility

 8           The government objects to the PSR’s reduction of defendant’s

 9     offense level pursuant to USSG § 3E1.1 based on his purported

10     acceptance of responsibility.       (PSR ¶¶ 83-84, 135.)      To date,

11     defendant’s actions and admissions to the Court and the USPO -– which

12     have not included admissions to any specific offense conduct -- do

13     not reflect true acceptance of responsibility for his crimes.

14           The guidelines explain that “[i]n determining whether a

15     defendant qualifies under subsection (a) of USSG § 3E1.1, appropriate

16     considerations include” whether defendant “truthfully admit[s] the

17     conduct comprising the offense(s) of conviction, and truthfully

18     admit[s] or [does] not falsely deny[] any additional relevant conduct

19     for which the defendant is accountable under § 1B1.3 (Relevant

20     Conduct).”    Although a defendant is not required to affirmatively

21     admit relevant conduct beyond the offense of conviction to qualify

22     for the reduction, “a defendant who falsely denies, or frivolously

23     contests, relevant conduct that the court determines to be true has

24     acted in a manner inconsistent with acceptance of responsibility.”

25     USSG § 3E1.1 (comment. (n.1(A)).

26

27            Sentencing Exhibit 7 is a transcript of the recorded call
             11
       between defendant and Michael Eagan on August 22, 2019. Upon the
28     Court’s request, the government will also file a copy of the
       recording itself.
                                         12
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 1           Here, defendant’s statements at the change-of-plea hearing show

 2     that he has not yet accepted responsibility for his conduct.             As he

 3     had done at trial, defendant continued to deny the full scope of the

 4     harm his criminal conduct caused.        After government counsel stated

 5     the amount of restitution to be ordered based on all the conduct

 6     encompassed by the fraudulent scheme to which he was pleading guilty,

 7     defendant stated “I don’t’ agree that the restitution amount or the

 8     loss amount is $9 million, nor the tax loss amount is $5 million.”

 9     (RT 6/16/2022 at 14.)      These assertions are empty and frivolous

10     denials of the uncontested evidence that was presented at trial, with

11     respect to the wire fraud counts, and provided through the documents

12     produced in discovery, with respect to the tax offense.

13           At trial, defendant repeatedly implied through his cross-

14     examinations of witnesses that there were additional reimbursable

15     costs that dramatically reduced the amount he owed his clients.             But

16     defendant never produced evidence of these purported additional

17     costs.     He repeatedly speculated that the TABS accounting data that

18     he claimed to have not received before trial would show these

19     additional costs.     When the data was examined, however, it showed

20     that the government’s loss calculations were correct -- indeed, if

21     anything, they were generous because they gave defendant credit for

22     “costs” to which he was not actually entitled.          (CR 809, 825.)12

23           Defendant’s false denials at the change-of-plea hearing about

24     the scope of harm he inflicted show that he has not accepted

25

26
              Notably, at no point during trial, nor after trial when
             12
27     defendant gained full access to the TABS records from the EA LLP
       servers, has defendant ever identified any evidence that the costs
28     and the expenses incurred on the cases at issue were more than the
       costs and expenses for which the government gave defendant credit.
                                         13
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 1     responsibility for the offenses to which he has pleaded guilty.             “The

 2     goals of the acceptance of responsibility provision would not be

 3     fulfilled if a defendant were eligible to receive the reduction even

 4     though he falsely denied relevant conduct. . . . . [T]he district

 5     court may weigh the false denial in considering a reduction for

 6     acceptance of responsibility.”       United States v. Rutledge, 28 F.3d

 7     998, 1002 (9th Cir. 1994) (affirming denial of acceptance of

 8     responsibility where defendant who pleaded guilty to being a felon in

 9     possession of a firearm falsely denied that he used the firearm

10     during the commission of an attempted robbery).

11           Defendant’s statements at the change-of-plea hearing also show

12     that he has not truly accepted responsibility for his offenses but is

13     only saying what he thinks will gain him a reduction in his offense

14     level.   When asked to clarify, with respect to the wire fraud, that

15     he understood that he made the false statements underlying each of

16     the counts to which he was pleading guilty, that the statements were

17     material, and that he acted with the intent to defraud, defendant

18     refused.    Instead, he said:

19           I have stated my allocution. I think it's acceptable under
             the law. I will cite the Court to United States versus
20           Nickle. It's a Ninth Circuit case, 816 F.3d 1230.
             Basically, a District Court must accept an unconditional
21           guilty plea so long as it meets the requirements of Federal
             Rule of Criminal Procedure 11(b). And I am going to
22           paraphrase the case. Unless I denied an element of the
             offense, that's sufficient enough to support my guilty
23           plea. I think I have stated and I have allocuted in
             sufficient detail here today to support my unconditional
24           guilty plea.

25     (RT 6/16/2022 at 24-25.)      The scant facts that defendant admitted and

26     his acknowledged plan to admit only the absolute minimum needed to

27     enter his guilty pleas, show that defendant has not accepted

28

                                              14
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 1     responsibility for the offenses to which he pleaded guilty.13            See

 2     United States v. Ramos, 923 F.2d 1346, 1360 (9th Cir. 1991)

 3     (affirming district court’s finding that defendant had not accepted

 4     responsibility where the defendant’s “minimalist description of his

 5     involvement in the affair (two or three sentences) did not suffice,

 6     in the eyes of the probation officer or the district court, given

 7     evidence which suggested a much deeper involvement in the scheme”)

 8     (overruled on unrelated grounds); United States v. Fellows, 157 F.3d

 9     1197, 1200, 1202-1203 (9th Cir. 1998) (affirming denial of acceptance

10     of responsibility where the district court found that defendant’s

11     letter expressing remorse “was merely ‘an effort to manipulate the

12     system and say only as absolutely much as he thinks he needs to in

13     order to gain acceptance’ rather than an actual acceptance of

14     responsibility for his criminal actions”).

15           Defendant submitted to the USPO an “apology” letter addressed to

16     all of the wire fraud victims together but did not identify any

17     specific conduct for which he was apologizing.          (PSR ¶ 84.)    Again,

18     defendant said the bare minimum and only said it when the issue of

19

20
              Even after defendant filed his notice of intent to change his
             13
21     plea (CR 945) and pleaded guilty in June 2022 (CR 955), defendant
       continued to -- falsely -- blame others for his predicament,
22     including the former President, a former lawyer at his firm, and a
       prosecutor in this case (CR 951; Sent. Exs 8, 9). In July 2022,
23     defendant caused two letters to be posted on his Twitter account
       seeking an investigation into “the likely misuse of the [IRS] and the
24     Treasury Department by former President Donald J. Trump and his
       allies in order to target [defendant] for political and personal
25     gain.” (Sent. Exs 8, 9.) Defendant knew that he had been the subject
       of three separate civil IRS audits and collection activities
26     (including the collection activities he admitted obstructing when he
       pleaded guilty to count 19) between 2011 and 2017 and that an IRS
27     revenue agent had made a criminal referral in early 2018, before
       defendant ever met or filed a claim on behalf of Stephanie Clifford
28     against the former President. (PSR ¶¶ 76, 144, 146; RT 8/18/21 v.II
       at 44, 48.)
                                         15
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 1     his “acceptance of responsibility” is being considered in connection

 2     with his sentencing.      This self-serving “apology” does not reflect an

 3     acceptance of responsibility worthy of recognition by a 2-level

 4     reduction in his offense level under USSG § 3E1.1.14

 5             Defendant says that he will address the Court at the sentencing

 6     hearing “regarding his acceptance of responsibility” (PSR ¶ 83).

 7     Based on what he has done and said to date, however, he has not yet

 8     accepted responsibility for his crimes.

 9                       c.   Criminal History Category III Does Not
                              Substantially Overrepresent the Seriousness of
10                            Defendant’s Criminal History

11             Defendant has previously been convicted of a total of five

12     felony offenses in two cases prosecuted in the Southern District of

13     New York (“SDNY”).     (PSR ¶¶ 150-151.)      He has 6 criminal history

14     points, placing him in Criminal History Category (“CHC”) III. (PSR ¶

15     152.)

16             Section 4A1.3 of the Sentencing Guidelines sets out criteria for

17     upward and downward departures based on “inadequacy of criminal

18     history category.”     A downward departure “may be warranted” “[i]f

19     reliable information indicates that the defendant’s criminal history

20     category substantially over-represents the seriousness of the

21

22            Defendant had multiple opportunities to accept responsibility,
               14
       admit his conduct, and apologize to his victims, but on every
23     occasion, he did the opposite. When his victims tried to get their
       money, defendant repeatedly lied and provided excuses, and made
24     lulling payments to keep his victims at bay. After Barela and Phan
       hired new attorneys, defendant neither responded to their requests
25     for information and documentation nor admitted what had happened;
       instead, in the case of Barela, defendant repeatedly and publicly
26     attacked Barela -- and continued to do so for the next several years
       -- as a “career criminal” who could not be trusted. And when
27     confronted with stealing Johnson’s money on March 22, 2019, instead
       of acknowledging what he did, defendant lied under oath and rushed to
28     Johnson’s residence to lie to him further and trick him into signing
       other documents. (PSR ¶ 47d.)
                                         16
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 1     defendant’s criminal history or the likelihood that the defendant

 2     will commit other crimes.” USSG § 4A1.3(b)(1).          As illustration for

 3     this concept, the Sentencing Guidelines provides the example that a

 4     downward departure may be warranted if “the defendant had two minor

 5     misdemeanor convictions close to ten years prior to the instant

 6     offense and no other evidence of prior criminal behavior in the

 7     intervening period.” USSG § 4A1.3, comment. (n.3).

 8           Here, the USPO asserts that a downward departure to CHC II is

 9     appropriate for a different reason, namely, that the SDNY matters

10     “could have been combined into one criminal case” and, if that had

11     occurred, defendant would have only 3 criminal history points,

12     placing him in CHC II. (Recommendation Letter (“Rec. Let.”) at 9.)

13     The USPO’s analysis is wrong.

14           Sentencing Guideline 4A1.2(a)(2) provides that “[i]f there is no

15     intervening arrest [i.e., between the conduct underlying the two

16     offenses], prior sentences are counted separately unless . . .             the
17     sentences resulted from offenses contained in the same charging
18     instrument.”    Defendant’s extortion offenses (CR 19-373-PGG (SDNY))
19     and his embezzlement and aggravated identity theft offenses (CR 19-

20     374-JMF (SDNY)) could not have been joined in the same charging

21     instrument.    Under Federal Rule of Criminal Procedure 8, joinder is

22     only permissible where the offenses are of the same or similar

23     character, or are based on the same act or transaction, or are

24     connected with or constitute parts of a common scheme or plan.             The

25     offenses charged in the two SDNY cases were of a completely different

26     character, involved completely different acts, and were not part of a

27     common scheme or plan.      Although the offenses occurred in the same

28     time frame, neither the extortion offenses nor the embezzlement

                                              17
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 1     offenses are relevant conduct within the meaning of USSG 1B1.3 for

 2     each other.15

 3           In any case, defendant’s criminal history score properly

 4     includes 6 points, placing him in CHC III.         This category accurately

 5     reflects defendant’s conduct and likelihood of recidivism given his

 6     extensive criminal behavior, the fact that his multiple crimes have

 7     not all accrued their own criminal history points, his lack of

 8     remorse, and his demonstrated willingness to lie to further his own

 9     interests at the expense of others. (See Sections II.B.2.b, above,

10     and III.C, below.)
11                      d.    No Reduction Under USSG § 5G1.2(d)
12           The government objects to the reduction of defendant’s
13     sentencing range to 240 months based on the purported applicability
14     of USSG § 5G1.2(d).      (PSR Guideline Summary, ¶ 265, Rec. Let. at 9.)
15           Defendant pleaded guilty to four wire fraud counts (each with a
16     statutory maximum sentence of 20 years) and a tax offense (with a
17     statutory maximum sentence of 3 years). (See PSR ¶ 264.)            The total
18     statutory maximum sentence that may be imposed for his five crimes is
19     83 years.

20

21
              Judge Furman rejected defendant’s downward departure request
             15
22     on this very ground in the SDNY embezzlement case. Defendant
       complained that “by prosecuting him on two separate occasions, [the
23     government] had the ability to now argue that he should be placed in
       criminal history category III as opposed to category I or II.”
24     (6/2/2022 RT 18 (CR 19-374-JMF).) Judge Furman found that
       defendant’s criminal history score was not overstated. Judge Furman
25     reasoned that, “had the government chosen to charge those two crimes
       together, or multiple crimes together, [defendant] almost certainly
26     would have moved for, and probably been granted, a severance since
       the Nike [extortion] conduct had absolutely nothing to do with the
27     [embezzlement] conduct at issue here. . . . [The Nike conviction] is
       not relevant conduct with respect to this case within the meaning of
28     the guidelines, which is to say it’s discrete criminal conduct.”
       (Id. at 19-20.)
                                         18
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 1           The Sentencing Guidelines includes instructions regarding the

 2     interplay of advisory sentencing ranges and statutory maximums.

 3     First, the Court determines the total punishment to be imposed.

 4     Then, “[i]f no count carries an adequate statutory maximum,

 5     consecutive sentences are to be imposed to the extent necessary to

 6     achieve the total punishment.”       USSG § 5G1.2(d), comment. (n.1 (final

 7     paragraph)); see also United States v. Iniguez, 368 F.3d 1113, 1115-

 8     16 (9th Cir. 2004) (en banc); United States v. Joetzki, 952 F.2d

 9     1090, 1097-98 (9th Cir. 1991).

10           Here, the USPO has found that the total offense level is 37 (39

11     if no reduction for acceptance of responsibility applies).            Defendant

12     is properly assigned to CHC III so his guidelines range is 262-327

13     months (level 37) or 324-405 (level 39).         Should the Court determine

14     that a sentence in either of these ranges is appropriate, § 5G1.2(d)

15     instructs the Court to impose 240 months as the sentence for one of

16     the wire fraud counts and then impose consecutive sentences on one or

17     more of the other counts “to the extent necessary to produce a

18     combined sentence equal to the total punishment.”           The guidelines

19     provide no authority for reducing the total punishment the Court

20     otherwise finds appropriate to the statutory maximum for a single

21     count where defendant -- as here -- has pleaded guilty to multiple

22     counts.

23                      e.    Restitution for the Tax Offense

24           The government objects to the USPO’s statement that restitution

25     can only be ordered in a tax case to the extent agreed to by the

26     parties in a plea agreement.       (PSR ¶ 280.)    As described more fully

27     below in Section IV, this is incorrect.         The Court can order

28     restitution as a condition of supervised release to the victim of any

                                              19
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 1     criminal offense, including those in Title 26, for which supervised

 2     release is properly imposed, limited to the losses caused by the

 3     count of conviction.      United States v. Batson, 608 F.3d 630, 633-37

 4     (9th Cir. 2010); see also USSG § 5E1.1(a)(2).

 5     III. A SENTENCE OF 210 MONTHS IS REASONABLE AND APPROPRIATE BASED ON
            THE 3553(A) FACTORS
 6
               A.   Overview
 7

 8             Defendant’s criminal conduct arose from calculated choices that

 9     resulted in multiple blatant and egregious violations of the trust

10     placed in him by his clients over the course of many years.            The

11     malevolence of defendant’s actions is magnified by the undisputed

12     fact that defendant did not need to do what he did.           Defendant was

13     not driven to commit his crimes by need, desperation, or the

14     inability to legitimately earn a living.         Despite the significant

15     advantages defendant enjoyed -- including a first-rate education and

16     a thriving professional career -- defendant chose to commit numerous,

17     deplorable crimes harming vulnerable victims over a lengthy period of

18     time.

19             The advisory Sentencing Guidelines are the starting point for

20     sentencing.    Gall v. United States, 552 U.S. 38, 49 & n.6 (2007).

21     With an advisory range of 262-327 months’ imprisonment (or 324-405

22     months if the Court finds that a two-level reduction for acceptance

23     of responsibility does not apply), and based on the numerous

24     aggravating circumstances that far outweigh any mitigating

25     circumstances present here, the government submits that a sentence of

26     210 months, consecutive to the previously imposed sentences defendant

27     is serving for separate crimes, is appropriate, just, and not greater

28

                                              20
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 1     than necessary to achieve the goals of sentencing.16            Because the

 2     aggravating factors far outweigh any mitigating factors, the

 3     circumstances of defendant’s case do not support an exercise of

 4     leniency.

 5           B.     Nature and Circumstances of the Offenses (§ 3553(a)(1))

 6           Defendant’s crimes were exceedingly serious.          With respect to

 7     the wire fraud scheme, defendant inflicted tremendous harm on his

 8     victims.    The victims testified about those harms at trial and have

 9     submitted victim impact statements (“VIS”) that further describe the

10     financial and emotional harms defendant caused over the course of

11     many years, the deleterious effects of which will endure for

12     additional years to come.       The emotional damage was particularly

13     acute because defendant stole from clients who had turned to him for

14     help addressing harms they had already suffered and had put their

15     trust in him and relied on him to represent their interests.             Rather

16     than honor his obligations and fulfill his duties -- legal,

17     professional, and ethical -- defendant stole from his legal clients,

18     lied to them for months and years, forged and fabricated documents,

19     testified falsely under oath, and went to great lengths to conceal

20     his fraud.    Defendant did not commit his crimes to support his

21     family, pay child support, or for any other arguably mitigating

22     reason; to the contrary, he stole from his clients to live an

23     extravagant lifestyle while some of his victims could barely make

24     ends meet.

25

26

27            This recommendation is contingent upon defendant’s acceptance
             16
       of responsibility for his crimes. (See Section II.B.2.b, above.) In
28     the event that defendant does not accept responsibility, the
       government will recommend a higher sentence.
                                         21
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 1           Defendant stole nearly two million dollars from Johnson, a

 2     paraplegic client with mental health issues who needed the money to

 3     pay for his living and medical expenses.         Defendant lied to Johnson

 4     for years and when defendant was caught, he lied some more and

 5     tricked Johnson into signing documents designed to support a self-

 6     serving defense that defendant intended to use to defeat any claims

 7     of misconduct that might be made against him.          Defendant’s scheme

 8     derailed Johnson’s efforts to purchase a handicap accessible house17

 9     and caused him to lose his SSI benefits. (PSR ¶¶ 42-47.)

10           Defendant also stole nearly two million dollars from Gardner

11     who, at the time, was living in her car and needed money to get back

12     on her feet.    Defendant misappropriated this money to buy a private

13     plane.     Defendant lied to Gardner for years and concealed his fraud

14     by blaming the purported non-payment of the agreed upon settlement

15     on her ex-boyfriend, which caused Gardner further emotional

16     distress.    (PSR ¶¶ 48-52.)

17           Defendant stole nearly a million dollars from Barela by

18     providing him a bogus settlement agreement and lying to him for

19     months while Barela’s financial situation worsened.           Then, when

20     Barela uncovered defendant’s fraud, defendant publicly -- and

21     ruthlessly -- attacked Barela for daring to accuse defendant of

22     doing exactly what defendant had, in fact, actually done.            At the

23

24
              In 2015, defendant stole Johnson’s settlement money that he
             17
25     could have used to buy the house in 2017 for $600,000. Although
       defendant was flush with cash in September 2017 (having received
26     nearly $5 million dollars in attorneys’ fees combined from the
       Phan/Tran settlement and the settlement in another case (Tr. Exs 368,
27     386)), defendant did not pay Johnson his money but, instead, in
       October 2017, forged Johnson’s name without his knowledge on loan
28     documents and then caused the house deal to collapse. (Tr. Exs 89,
       94, 95.)
                                         22
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 1     same time, defendant sought a percentage of Barela’s other business

 2     ventures and offered to “lend” Barela -- with interest –- money in

 3     January 2019 that was, in fact, Barela’s own money (the concealed

 4     second settlement payment that defendant would also steal).            (PSR ¶¶

 5     53-58.)

 6            Finally, defendant stole four million dollars from Phan so he

 7     could pay off creditors, including the IRS, to get his law firm out

 8     of bankruptcy.     Defendant lied to Phan and her business manager for

 9     months to conceal his fraud, providing them with false documentation

10     that increased their anxiety about the missing money. (PSR ¶¶ 59-

11     67.)

12            The VISs describe in detail the effects defendant’s conduct had

13     on the victims up through trial, including from the crimes

14     themselves as well as defendant’s treatment of his victims after the

15     crimes were uncovered.18      Johnson described defendant’s conduct and
16     its impact: “To this day, I do not know why Michael lied and
17     deceived me, why he broke my trust, why he broke my heart. I trusted
18     him implicitly, I believed the things he told me, but it was all
19     part of his plan to defraud me of my settlement. To this day, I have

20     a hard time trusting people because of what Michael did, and I live

21     in constant fear of being taken advantage of again, particularly

22     given my physical disability.” (Johnson VIS ¶ 23.)           Gardner

23     explained the effects defendant’s actions have had on her: “It

24     creates resentment, a wave of bitter anger at having been

25     mistreated. I have lost job opportunities, personal relationships,

26

27
               The VISs have been provided to the Court, the USPO, and
              18
28     defendant and their contents are for this reason not repeated fully
       herein.
                                         23
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 1     and friendships where I have pushed people away in fear of being

 2     taken advantage of. I am constantly plagued by my wounds, as my

 3     heart truly hurts. I have felt pain writing this. To elaborate on

 4     these moments causes me chest pain, jitters, a throbbing migraine,

 5     sweat, blurred vision, and my throat becomes so tight I can barely

 6     speak.”   (Gardner VIS at 6.)

 7           Barela detailed the impact that defendant’s criminal conduct

 8     had on him when it was added on top of the circumstances that had

 9     led Barela to hire defendant in the first place: “And, as the months

10     go by and with an even further pit in the stomach, you must now face

11     the truth that, yes, you have been swindled, not once, but twice,

12     and the second time by the very person who swore to help.            Not only

13     is there the realization that the money that you needed to keep your

14     family and your business afloat is not coming to you, you realize

15     the man you have admired and even felt a friendship towards, has,

16     without any apparent regard for your well-being, cheated you, lied

17     to you repeatedly, and is still trying to convince you otherwise.”

18     (Barela VIS at 1.)     Finally, Tran itemized the harm defendant caused

19     to both Phan and Tran: “I must live with this heavy burden, this

20     overwhelming guilt, this immense shame in knowing that my closest

21     friend endured a great deal of suffering because I chose to hire

22     Michael Avenatti.     I can’t fix this and that knowledge will eat away

23     at me for the rest of my life.” (Tran VIS.)

24           The advisory guidelines account for some of the aggravating

25     factors involved in defendant’s wire fraud scheme, including: the

26     millions of dollars in actual loss; the abuse of trust and abuse of

27     his role as the victims’ attorney to commit and conceal his crimes;

28     the substantial financial hardship he caused to at least three of

                                              24
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 1     his victims; his use of sophisticated means to carry out the crime;

 2     his misrepresentations and fraudulent actions during the course of

 3     bankruptcy proceedings, which served to conceal his thefts; the

 4     crimes being committed against someone defendant knew was a

 5     vulnerable victim; and defendant’s obstruction of justice.            The

 6     guidelines, however, do not capture many other aggravating aspects

 7     of defendant’s criminal conduct, which the Court should consider.

 8           First, defendant’s wire fraud scheme entailed other crimes,

 9     including identity theft and making false statements under penalty

10     of perjury in civil proceedings, including in EA LLP’s bankruptcy,

11     which defendant committed to conceal his thefts.           For example,

12     defendant engaged in aggravated identity theft and other fraud

13     relating to the attempted purchase of the house for Johnson in 2017

14     by forging Johnson’s name on loan documentation. (See footnote 18,

15     above.)   Defendant made misleading statements at various JDEs to
16     conceal his theft of client funds.          For example, although defendant
17     improperly used his various attorney client trust accounts to pay
18     for his personal and business expenses (see, e.g., Tr. Exs 368-370,
19     372, 386-387), he refused to answer questions about where he held

20     trust accounts at JDEs and suggested he had no control over those

21     funds -- much less that he had, in fact stolen those funds -- by

22     claiming “those funds don’t belong to me.” (Tr. Ex 403 at 7-8.)

23     Defendant also made false statements under oath and/or under

24     penalties of perjury about his filing of tax returns for himself,

25     A&A, and EA LLP, and the efforts he purportedly took to locate the

26     returns, even though defendant knew he had never filed the returns.

27

28

                                              25
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 1     (Sent. Exs 2, 10, 11, 12.).19

 2           Second, defendant’s wire fraud scheme harmed more than the four

 3     victims underlying the counts of conviction. Defendant also stole

 4     settlement money from other clients, including nearly 170 clients he

 5     represented in connection with Greco v. NFL, from whom he stole

 6     approximately $807,000 (PSR ¶¶ 139-140), and Amélia Racine, from

 7     whom he stole $15,000 (Sent. Ex 21).

 8           Third, defendant’s wire fraud scheme caused harm to more than

 9     just the proximate victims of his scheme, wreaking havoc in the

10     lives and affairs of many third parties.         For example, other members

11     of EA LLP have been sued and have paid civil settlements based on

12     defendant’s criminal conduct.       Both EA LLP and GBUS were placed into

13     bankruptcy due to defendant’s actions, and countless creditors are

14     owed millions of dollars that they will almost certainly never

15     recover.    In addition, the parties to some of the underlying civil

16     cases that resulted in the settlements that defendant stole,

17     resolved their matters through confidential agreements; those

18     parties lost the privacy protections of those agreements when the

19     agreements became issues in defendant’s public criminal trial.             The

20     final resolutions that the parties in the civil matters believed

21     they had reached have also been upended; instead, the parties have

22     needed to expend more time and money in connection with defendant’s

23     criminal case.20

24
             19Defendant also fraudulently submitted tax returns that he
25     never filed to The Peoples Bank in order to secure loans in 2014.
       (See Indictment, Counts 30-31.)
26
            20 Defendant’s course of conduct regarding the failed purchase of

27     a home for Johnson epitomizes the collateral damage defendant caused.
       In addition to preventing Johnson from being able to purchase a
28     handicap-accessible home, which was one of Johnson’s primary goals in
                                               (footnote cont’d on next page)
                                         26
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 1           Fourth, the guidelines do not fully capture all of defendant’s

 2     reprehensible conduct and the harm it inflicted.           Defendant’s

 3     offense level would be the same if defendant had simply lied to his

 4     clients about their settlement agreements and payments, and then

 5     just stolen their money.      But defendant did far more than that. He

 6     prevented Johnson from buying a handicap-accessible home; caused

 7     Johnson to lose his SSI benefits; lied to Johnson and provided him

 8     with yet more bogus documentation in March 2019; caused Gardner to

 9     suffer additional emotional harm by making her believe her ex-

10     boyfriend was continuing to mistreat her; and violated his duty of

11     loyalty to his clients by publicly attacking them.

12           Fifth, the harms caused when a lawyer betrays his clients go

13     far beyond the financial harm that is the focus of the Sentencing

14     Guidelines.    Earlier this year, the Honorable Michael W. Fitzgerald,

15     United States District Judge, recognized these additional harms when

16     he sentenced another plaintiff’s lawyer who stole approximately $5.5

17     million from his clients to 144 months’ imprisonment. Judge

18     Fitzgerald’s analysis, especially in relation to the nature and

19     circumstances of the crime, is apropos here.          United States v.

20     Layfield, CR 18-124-MWF, Dkt 443.        Judge Fitzgerald described “the

21

22     pursuing his case against the County of Los Angeles, defendant wasted
       considerable time and money of others, including the seller, two real
23     estate agents, the escrow officers, and the loan agent. Defendant
       took no action to help Johnson buy the property but instead lied to
24     Johnson and everyone involved to string them along. After months of
       false promises by defendant that caused the seller to move out of her
25     home, store her belongings, and pay for a short-term lease, the
       seller finally decided to cancel the escrow after becoming
26     emotionally and physically ill due to the stress. (Sent. Ex 13.)
       And despite defendant’s preventing the sale from closing based on
27     repeated lies about delays in connection with a purportedly required
       special needs trust for Johnson, defendant refused to sign the escrow
28     cancellation documents and threatened to sue the other side. (Sent.
       Exs 14, 15, 16.)
                                         27
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 1     seriousness of the crime, indeed the heinousness, the sheer evil of

 2     the crime” of a lawyer stealing from his clients as “utterly

 3     reprehensible” and “pretty much the worst thing that a lawyer could

 4     ever do.”    Id. at 11, 25, 53.     Judge Fitzgerald called defendant’s

 5     actions an “appalling and shocking violation of the attorney-client

 6     relationship,” whereby the victims “were vulnerable because they had

 7     been injured . . . [a]nd they were vulnerable in the sense because

 8     of the fiduciary relationship” and “were reluctant” to believe they

 9     “were at odds with their own lawyer” who they believed “was their

10     champion.”    Id. at 43.

11           Finally, the guidelines do not capture the harms caused by
12     defendant’s tax crime, since no multi-count adjustment apples.             But
13     the tax crime is also extremely serious, resulting in over $3.2
14     million in federal payroll taxes not being paid. (PSR ¶¶ 71-77.)
15     This crime, too, caused harm not just to the immediate victim -- the
16     U.S. Treasury -- but also to the hundreds of GBUS employees whose
17     tax accounts were affected.
18           In short, defendant’s crimes were exceedingly serious and
19     caused widespread harm.      Such significant misconduct warrants a

20     correspondingly significant term of imprisonment.

21           C.     History and Characteristics of Defendant (§ 3553(a)(1))

22           Defendant’s history and characteristics present further

23     aggravating factors that justify a significant custodial sentence.

24     Defendant’s education and work history show that he had every

25     opportunity to live a prosperous, law-abiding life running a

26     legitimate and lucrative law practice.         Defendant is well-educated

27     and well-credentialed.      Instead of using his skills and personal

28     qualities to build up his legal practice and help his clients, he

                                              28
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 1     stole millions of dollars from them.        When confronted, defendant

 2     used his superior knowledge of the legal system to conceal his

 3     thefts by lying over and over again.        Defendant consistently puts

 4     his own interests and desires ahead of the interests and needs of

 5     others and will say and do anything -- whether or not legal and/or

 6     truthful -- that he believes will benefit himself.21

 7           These characteristics are clear not just in the instant case

 8     but also in the matters underlying defendant’s two other federal

 9     prosecutions.    The convictions in those matters similarly involved

10     defendant’s violations of his duties as a lawyer by lying to and

11     betraying his clients for his own personal benefit.           In connection

12     with the sentencing in the Nike extortion case, the Honorable Paul

13     G. Gardephe, United States District Judge, described defendant’s

14     criminal conduct as follows:

15

16
              For example, in 2018, before he was indicted, defendant
             21
17     repeatedly gave assurances during media interviews (and on Twitter)
       that he would release his tax returns if he ran for president,
18     despite not having filed tax returns for nearly a decade. (Sent. Ex
       17; ABC This Week interview on August 12, 2018,
19     https://abcnews.go.com/Politics/stormy-daniels-lawyer-michael-
       avenatti-presidential-hopeful/story?id=57142701, at 7:20-7:50; and
20     The Texas Tribune One on One with Michael Avenatti,
       https://www.youtube.com/watch?v=NdbAMCs2FFQ&t=32s, at 52:40-53:12.)
21     Likewise, defendant repeatedly touted, including during trial and in
       filings in this case, the “billion dollars in verdicts and
22     settlements” he obtained as a lawyer, which included a $454 million
       dollar verdict. That verdict was immediately reduced to $25 million
23     and ultimately overturned on appeal by the Ninth Circuit resulting in
       no recovery. When asked in a JDE what value defendant placed on the
24     $454 million Kimberly Clark verdict about which he constantly bragged
       (including at trial), defendant testified: “zero. . . . Because any
25     experienced trial lawyer will tell you that you cannot put a value to
       it until it’s actually received.” (Sent. Ex 2.) In fact, at trial
26     defendant attempted to mislead the jury about the verdict by
       eliciting testimony from his office manager about the $454 million
27     verdict to attempt to contradict her testimony about the dire
       financial condition of the firm (RT 7/28/21 v.2 at 33-34), and then
28     sought to prevent the jury from learning that the case actually
       resulted in nothing for the firm (RT 7/29/21 v.1 at 11-14).
                                         29
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 1           Mr. Avenatti’s conduct was outrageous. He hijacked his
             client’s claims and he used those claims to further his own
 2           agenda, which was to extort millions of dollars from Nike
             for himself. . . . [Defendant’s client] was never more
 3           than a convenient pawn for Avenatti, a vehicle for Avenatti
             to extract millions from Nike. But Mr. Avenatti did more
 4           than hijack his client’s claims for his own financial gain.
             He outright betrayed his client. . . . He had become
 5           someone who operated as if the laws and rules that apply to
             everyone else didn’t apply to him.
 6

 7     (19-CR-373-PGG (SDNY), RT 7/8/21 at 39-40.)

 8           The Honorable Jesse M. Furman, United States District Judge, in

 9     the wire fraud and identity theft case, was struck by the same

10     characteristic.     At sentencing, he described defendant’s conduct as

11     follows: “Mr. Avenatti [used] his intelligence and formidable legal

12     skills, not for good, not for his clients’ interest, but for his

13     own” and noted that defendant was “brazenly lying to and stealing

14     from [his clients], indeed, [] defaming them, both privately and

15     publicly, when they had the audacity to confront him for his

16     crimes.”    (19-CR-374-JMF (SDNY), RT 6/2/22 at 47.)

17           Here, defendant’s callous abuse of his clients extended beyond

18     the crimes he committed.22      After the indictment was returned and its
19     allegations of defendant’s abuse of Johnson became public, and then

20     again after Johnson sued defendant for fraud, defendant publicly

21

22

23
              Defendant also threatened and bullied many others, including
             22
24     lay individuals, lawyers, and members of the media, if they accused
       defendant of impropriety. For example, when an attorney in Seattle
25     alleged misconduct by defendant -- allegations that later proved to
       be accurate -- defendant attacked the attorney publicly and made
26     baseless and outlandish claims about the attorney’s character and
       even threatened the newspaper if it continued its reporting. (Sent.
27     Exs 18, 19; see also https://lawandcrime.com/opinion/michael-
       avenatti-threatened-to-sue-our-reporter-after-unfavorable-coverage-
28     then-trolled-him-on-twitter/; CR 549, 679 (baseless allegations in
       filings about a reporter covering defendant’s case).)
                                         30
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 1     vilified Johnson claiming he was “disturbed” and not credible.23             At

 2     trial, defendant attacked, berated and attempted to embarrass his

 3     clients by posing questions during cross-examination based on

 4     irrelevant -- and confidential -- information that he only knew

 5     because of his prior representation of the clients.

 6           For example, defendant asked questions of Gardner about an

 7     instance in which she had been sexually assaulted and questioned

 8     Johnson about having been naked on the street during a mental health

 9     episode, his hallucinations, and his purported assault of a nurse.

10     (RT 8/3/21 v.I at 64; RT 7/22/21 v.I at 89, v.II at 33; see also

11     Johnson VIS ¶ 20 (describing defendant’s cross-examination as
12     “abusive,” with defendant “shout[ing]” at Johnson, “ridicul[ing]”
13     him, and claiming he was “mentally ill for simply testifying
14     truthfully”); Gardner VIS at 4, 7 (referring to defendant’s
15     “manipulation and purely evil” cross-examination of Gardner as an
16     attempt to “mak[e] a damn fool of [her] again and trying to break
17     [her] further” as well as “seek[ing] to destroy [her] mentally,
18     physically, and emotionally.”)24       Defendant’s cross-examination of
19     Tran included allegations that Tran and Phan were trying to evade

20     paying taxes on their settlement money even though -- as defendant

21     knew -- they were handling the money in the way to which defendant -

22

23          23 PSR ¶47e, n.8; see also CR 283 Exs 2, 3; “Paraplegic Man Sues
       Michael Avenatti For Allegedly Embezzling $4M Settlement,”
24     https://www.cbsnews.com/losangeles/news/paraplegic-man-sues-michael-
       avenatti-for-embezzling-4m-settlement/; “Paraplegic man sues former
25     attorney Michael Avenatti, claims he stole settlement money,”
       https://abc7.com/michael-avenatti-lawsuit-orange-county-geoffrey-
26     johnson/5345745/.
27          24 Defendant’s continuing abuse of his victims was also
       demonstrated by his effort to intimidate Barela by serving his wife
28     with a trial subpoena when she accompanied Barela to Court. See
       Section II.B.2.a., above.
                                         31
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 1     - their lawyer -- had advised them.        (RT 8/10/21 v.II at 91.)

 2     Defendant’s shameless cross-examinations of his victims -- which

 3     could elicit almost nothing that could actually advance his defense

 4     -- showed he had no remorse for the harm he had already inflicted on

 5     them and has no empathy for anyone who he believes stands in his way

 6     of obtaining what he wants.25

 7           Defendant’s abusive cross-examinations were in keeping with his

 8     pre-trial conduct, in which defendant attempted to intimidate and

 9     embarrass his victims when they confronted him about his illegal

10     actions.    For example, in May 2019, U.S. Probation and Pretrial

11     Services (“USPPS”) advised the Court that defendant had made

12     statements (in violation of his duty of loyalty and confidentiality)

13     about Gardner and her former boyfriend that USPPS interpreted as

14     potential threats and witness intimidation.          (PSR ¶ 18.)    Although

15     defendant promised to “refrain from any similar conduct,” he

16     subsequently attacked Johnson in the media with information to which

17     he had access solely due to his representation of him.26           (See n.24,
18
             25Defendant’s abusive cross-examinations came several weeks
19     after defendant’s sentencing hearing in the Nike extortion case, when
       he said during his allocution: “I am truly sorry for all of the pain
20     that I have caused to Mr. Franklin and others. I am deeply humbled
       before you here today. Despite the deep shame and remorse, I still
21     feel positive because I know that I can do better, that I can be the
       person I dreamed of being when I was a child. I look forward to
22     working hard to become the person I once was, and I will, if given
       the chance.” (19-CR-373-PGG, RT 7/8/21 at 29.) Defendant had the
23     chance but did not act on it and, instead, brow-beat his victims
       during his cross-examinations in this case shortly after his
24     allocution, demonstrating that his purported contrition was simply an
       attempt to garner a benefit for himself at sentencing.
25
            26 Barela was the first client to publicly accuse defendant of

26     stealing his money, and defendant mercilessly attacked Barela and
       Barela’s character, including with false information. See, e.g.,
27     “Michael Avenatti Gives First Interview Since Arrest,” 3/27/19,
       https://www.youtube.com/watch?app=desktop&v=z2iYbRUbMNE at 2:37-3:05.
28     At a public judgment debtor examination, when asked simply to
                                               (footnote cont’d on next page)
                                         32
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 1     above.)

 2            Defendant has also shown himself to be willing to say anything

 3     -- truthful or not -- to the Court that he thinks will benefit him

 4     or serve his purposes.      For example, on May 14, 2019, at the

 5     beginning of this case and seven days after defendant received $1

 6     million in attorney’s fees, defendant applied for representation by

 7     the Federal Public Defender, claiming he was financially unable to

 8     obtain counsel.     (CR 98 at 13, 26.)     During trial, defendant made

 9     false statements to the Court in connection with his efforts to call

10     witnesses who were hardly relevant.        For example, defendant told the

11     Court he needed to call Morgan Witos because she “was a CPA at the

12     law firm.”    (RT 8/19/21 v.1 at 26.)      Defendant also repeatedly

13     implied that Ms. Witos was a CPA through his cross-examination

14     questions.    (RT 7/28/21 v.II at 30; RT 8/17/21 v.II at 25.) But

15     defendant knew Ms. Witos was not a CPA and had never claimed to be

16     one.   (Sent. Ex 20.)     Similarly, defendant sought to justify calling

17     two FBI agents based in New York by claiming that they had

18     participated in the execution of search warrants in this district,

19     when, as defendant knew, they had not participated in the search

20     warrants or any other aspect of this case.27

21

22

23     identify Barela, defendant answered: “Gregory Barela is currently on
       felony probation for making false statements in an effort to get paid
24     money. He’s a former client of the firm. I think he’s been
       convicted two or three times of various felonies.” (Sent. Ex 11.)
25
            27 Although the government is not privy to defendant’s in camera
26     proffer to the Court to call the SDNY case agents as witnesses in
       this case, based on the colloquy with the Court after defendant’s
27     direct examination of one of the agents, it became clear defendant
       had not been truthful with the Court. (RT 8/17/21 v.II at 95.)
28     Defendant did not call the second agent despite making her travel
       from New York to California based on his claims.
                                         33
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 1           Defendant’s willingness to twist the truth to serve his own

 2     purposes continued throughout trial.        For example, during his cross-

 3     examination of his office manager, defendant referred to his

 4     representation of a family that had lost their son to a drug

 5     overdose in a case involving a famous comedian and asserted that he

 6     had paid the settlement money to the family appropriately.            (RT

 7     7/29/21 v.I 46-47, 57; Tr. Ex 387 at 15.)         In truth, defendant had

 8     spent the settlement money that was received in October 2017 (Tr. Ex

 9     386) and only paid the family the amounts they were due five months

10     later on March 20, 2018, using $200,000 that defendant had stolen

11     from Phan.    (Tr. Exs 368 at 9, 369 at 2, 386, 387.)

12           Even now, defendant continues to make self-serving statements

13     designed to obtain a reduced sentence, regardless of defendant’s

14     prior statements contradicting his newly made claims.           For example,

15     defendant now maintains that he has alcohol and substance abuse

16     issues that peaked between 2018 and 2020 and seeks a recommendation

17     from this Court that defendant qualify for the RDAP program (PSR ¶¶

18     206-211), which could provide defendant with a credit against his

19     sentence.    Defendant never previously mentioned his purported

20     alcohol and substance abuse issues at any time during the several

21     years he was on pretrial release.        Indeed, USPPS stated in its

22     initial April 2019 report that “defendant indicated no history of .

23     . . substance abuse history, alcohol abuse or substance abuse

24     treatment.”    Of course, had defendant mentioned his purported

25     substance abuse issues then, he would have had to comply with

26     substance-related conditions of release which would have been

27     imposed.    (CR 10, 13.)    Mentioning these issues now, however, serves

28     his interests of attempting to obtain every possible sentence

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 1     reduction that he can.

 2           In sum, although defendant has constantly portrayed himself in

 3     the media and elsewhere (including in his opening statement at

 4     trial) as someone who represents “Davids” versus “Goliaths”, as a

 5     “fighter” for the little guys and a person who gives “people who had

 6     no chance a fighting chance” (RT 7/21/21 v.I 64), in fact, defendant

 7     did not and does not fight for anyone but himself.

 8           D.    Need to Reflect the Seriousness of the Offense, Promote
                   Respect for the Law, provide Just Punishment, Afford
 9                 Deterrence, and Protect the Public from Further Crimes of
                   the Defendant (§ 3553(a)(2))
10

11           It is frequently impossible for a Court to right all wrongs,

12     make victims whole or give victims a sense of closure and that is,

13     unfortunately, the case here.       The victims in this case have lost

14     millions of dollars, been deceived for years by the person they

15     believed was fighting for them, and then endured abuse and re-

16     victimization when they confronted defendant and sought to obtain

17     justice.    The monetary and emotional harms caused by defendant’s

18     crimes are extreme, and a substantial sentence is necessary to

19     reflect the seriousness of the offenses, promote respect for the

20     law, provide just punishment, and deter future criminal conduct.

21           The need for specific and general deterrence is particularly

22     pronounced.    As to the former, defendant’s lack of remorse and

23     continued infliction of harm for years even after his thefts were

24     revealed shows that a significant sentence is necessary if there is

25     to be any hope that he will conform his future conduct to the law.

26     Indeed, in revoking defendant’s bail, the Court found probable cause

27     to believe defendant committed federal and state crimes while on

28     pretrial release and found defendant presented an “ongoing danger”

                                              35
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 1     to the community, which was “real and palpable.”           (RT 1/15/20 at

 2     37.)    The Court stated on several occasions thereafter: “The Court

 3     has not lost sight and neither should the parties of this Court’s

 4     finding, and the Ninth Circuit’s affirmance, that Avenatti is a

 5     danger to the community. . . . That remains the case.” (CR 128 at 2;

 6     CR 132; RT 3/31/20 at 6.)       Defendant’s failure to accept full

 7     responsibility for his wrongful conduct or even admit its full

 8     scope, as well as his conduct throughout this case, as described

 9     above, including his willingness to engage in further criminal

10     conduct to try to conceal his prior criminal activity, all make

11     clear that a significant sentence is needed to achieve specific

12     deterrence.

13            Defendant’s lengthy history of flouting the tax laws likewise

14     shows the need for a significant sentence to deter further crimes.28

15     In addition to defendant’s criminal conduct in relation to the
16     payroll taxes for GBUS employees, defendant also has failed to file
17     his individual tax returns from 2011 through 2017, notwithstanding
18     his receipt of substantial income in those years.           (PSR ¶¶ 145-146.)
19     Likewise, he repeatedly failed to meet his tax obligations with

20     respect to his companies EA LLP and A&A, despite their generating

21     substantial revenues.      (PSR ¶¶ 142-143.)     Defendant’s contempt for

22     his obligation to follow the tax laws is clear not only from his

23     failure to file returns and pay the amounts owed but also from his

24

25            The Ninth Circuit has observed that tax crime sentences should
              28
       reflect a particular sensitivity to deterrence under the section
26     3553(a) factors. United States v. Orlando, 553 F.3d 1235, 1239 (9th
       Cir. 2008); see also USSG Part T, Introductory Commentary (November
27     1, 2012) (“Because of the limited number of criminal tax prosecutions
       relative to the estimated incidence of such violations, deterring
28     others from violating the tax laws is a primary consideration
       underlying these guidelines.”).
                                         36
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 1     brazen lies about his supposed tax compliance.29

 2           As to general deterrence, defendant’s conduct in this case

 3     exemplifies the danger posed by an attorney who abuses his unique

 4     position of trust to defraud his clients.         Given the nature of

 5     attorneys’ relationships with their clients, attorney theft is not

 6     easily detectible and, in fact, is extremely hard to uncover.30            The

 7     legal system depends on clients being able to trust that their

 8     attorneys are working in the clients’ best interests and, because of

 9     that trust, few clients second-guess their attorney’s actions.

10     Moreover, the attorney-client privilege shields this relationship

11     from public scrutiny, making detecting attorney fraud against

12     clients even more difficult.

13           Defendant obviously never intended for his clients to discover

14     that he had stolen their money, and he abused his relationship with

15     his clients and his knowledge of the legal system to try to keep

16     them in the dark so that he would not get caught.           As the Court

17     heard at trial, defendant insisted that only he discuss settlement

18     issues with his clients, and he became irate when he learned that

19     other members of his firm had discussed the settlement agreement

20     with Barela.    (RT 7/28/21 v.I at 16; RT 8/17/21 v.II at 38-39.)

21     When clients asked questions about their purportedly missing

22     settlement payments or options to collect on the settlement

23     agreement, defendant repeatedly told them they could take no action

24     and were not permitted to discuss the situation with anyone else due

25     to the supposed confidential nature of their settlement agreements.

26
             29See Section III.B, above.
27
            30 Indeed, special procedures including the use of taint teams
28     are required simply to investigate attorneys for fraud involving
       their legal practice.
                                         37
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 1     (See, e.g., RT 8/4/21 v.II at 92; RT 8/5/21 v.I at 49.)            And when

 2     Johnson and Gardner did discuss their settlement agreements with

 3     others, defendant became furious and instructed them to never again

 4     talk to anyone other than defendant about their settlements.             (RT

 5     7/22/21 v.I at 44; RT 7/30/21 v.II at 17-18; RT 8/3/21 v.I at 58.)

 6     In these ways, defendant prevented his clients from uncovering

 7     sooner the fraud he had perpetrated against them.           Turning justice

 8     on its head, defendant used the legal system to cover his tracks and

 9     continue to exploit the very clients whose interests he had sworn to

10     uphold.

11           Concerns for general deterrence also call for a substantial

12     sentence to send a message to attorneys and other fiduciaries who

13     take advantage of their positions to benefit and enrich themselves

14     at their clients’ expense.       The victims of defendant’s criminal

15     conduct include the entire legal profession.          Whenever a lawyer

16     commits a crime in breach of his/her legal and ethical

17     responsibilities, it casts doubt on other dedicated, honest, and

18     ethical lawyers and brings the legal profession, and here the

19     plaintiff’s bar in particular, into disrepute.          That defendant was

20     able to conceal his criminal acts for so long serves to increase the

21     harm to the reputation of lawyers through a loss of public

22     confidence in the integrity of the profession.          A significant

23     sentence is needed to deter other lawyers from believing they can

24     violate the very laws they swear to uphold without consequences, and

25     to reassure the public that the criminal justice system holds

26

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 1     lawyers as accountable for their misdeeds as it does everyone else.31

 2           The need for just punishment also supports a significant term

 3     of incarceration in this case.       Defendant maintained during the

 4     recent sentencings in New York that the fact that he will never be

 5     able to practice law again and the damage resulting from his

 6     convictions to the reputation he spent decades cultivating

 7     constitute sufficient punishment. (CR 19-373-PGG (SDNY), Dkt 317 at

 8     11; CR 19-374-JMF (SDNY), Dkt 433 at 20.)         Not so.    As the Honorable

 9     Dale S. Fischer, United States District Judge, stated when rejecting

10     similar claims raised by another prominent attorney who had been

11     convicted of federal crimes:

12           Most criminals lose their jobs and livelihood and the
             respect of people who believe they knew them. These things
13           are a natural consequence of [defendant’s] deliberate
             conduct. They are not punishment and certainly not
14           sufficient punishment. I agree with my colleague in the
             Southern District of New York32 that it is not possible to
15
             31Judge Furman addressed this issue at defendant’s sentencing
16     hearing: “I do think that this case will send a message to lawyers
       and others in the legal profession that if you go astray in the way
17     that Mr. Avenatti did, you will pay a steep price, not only in losing
       your right to practice your profession, but also in losing your
18     liberty.” (CR 19-374-JMF (SDNY), RT 6/2/22 at 49-50.)
            32 Judge Fischer was referencing the statements of the Honorable
19
       Marvin E. Frankel, United States District Judge, in sentencing a
20     prominent rabbi:

21           If punishment were wholly or mainly retributive, [public
             humiliation] might be a weighty factor. In the end,
22           however, it must be a matter of little or no force.
             Defendant’s notoriety should not in the last analysis serve
23           to lighten, any more than it may be permitted to aggravate,
             his sentence. The fact that he has been pilloried by
24           journalists is essentially a consequence of the prestige
             and privileges he enjoyed before he was exposed as a
25           wrongdoer. The long fall from grace was possible only
             because of the height he had reached. The suffering from
26           loss of public esteem reflects a body of opinion that the
             esteem had been, in at least some measure, wrongly bestowed
27           and enjoyed. It is not possible to justify the notion that
             this mode of nonjudicial punishment should be an occasion
28           for lenience not given to a defendant who never basked in
                                                (footnote cont’d on next page)
                                          39
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 1           justify the notion that public humiliation and other forms
             of non-judicial punishment should be an occasion for
 2           lenience not given to a defendant who has never had the
             opportunity to reach the same heights in the community. . .
 3           The concept of equal justice requires that the Court give
             little weight to this particular defendant’s personal and
 4           professional accomplishments and the somewhat unique
             collateral consequences his own conduct has caused.
 5

 6     United States v. Terry Christensen, CR 04-1046(E)-DSF, Sentencing

 7     Hearing, Nov. 24, 2008, at 56-57.        Any collateral consequences

 8     defendant has or will suffer are the direct result of defendant’s own

 9     deliberate criminal conduct and do not justify a lenient sentence.

10           In arguments at his sentencings in New York and statements to

11     the USPO in this case, defendant maintains that his incarceration --

12     and specifically the alleged “horrible” conditions of his confinement

13     and “intense lockdown for over 100 days” -- at MCC warrant a downward

14     variance.    (PSR ¶ 202; CR 19-373-PGG (SDNY), Dkt 317 at 18-25; CR 19-

15     374-JMF (SDNY), Dkt 433 at 18-19.)        But even though defendant’s

16     counsel thought it would be a “good idea” to return defendant to this

17     District following the conclusion of his Nike trial (RT 1/31/20 at

18     20-21), defendant opposed being returned to this district on February

19     20, 2020, claiming his conditions of confinement had “substantially

20     improved.”    (CR 100, CR 101 at 2-3, CR 102.)33       To the extent this

21     issue warrants any variance, Judge Gardephe already varied downward

22

23          such an admiring light at all. The quest for both the
            appearance and the substance of equal justice prompts the
24          court to discount the thought that the public humiliation
            serves the function of imprisonment.
25     United States v. Bergman, 416 F.Supp. 496, 502-03 (S.D.N.Y. 1976).
26          33 Defendant has also repeatedly complained about his being
       confined to a 1,000 square foot, two-bedroom apartment during his
27     temporary release. (CR 271, CR 448, CR 891.) Defendant chose this
       apartment to live after he violated his bail conditions, and these
28     living conditions were better than the conditions two of his victims
       endured due directly to defendant’s criminal conduct.
                                         40
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 1     on this basis when he imposed the sentence in the Nike extortion

 2     case.    (PSR ¶ 202.)    No further variance on this basis is appropriate

 3     here.

 4             E.    Policy Statements and Need to Avoid Unwarranted Sentencing
                     Disparities (§ 3553(a)(6))
 5

 6             Because the government’s recommended sentence is within or

 7     below the Sentencing Guidelines range, it will not cause unwarranted

 8     sentencing disparities with other defendants in similar

 9     circumstances.     See Gall v. United States, 552 U.S. 38, 54 (2007)

10     (“[A]voidance of unwarranted disparities was clearly considered by
11     the Sentencing Commission when setting the Guidelines ranges.”).
12             F.    The USPO’s Sentencing Recommendation Is Factually and
                     Legally Flawed
13

14             Notwithstanding the seriousness of the crimes defendant
15     committed, the significant harms he inflicted on his former clients
16     and many others, and his utter lack of true remorse, the USPO has
17     recommended an extraordinarily lenient sentence of effectively 91
18     months.      Although the USPO ostensibly recommends 151 months, she
19     proposes that it be served concurrently with the total 60-month

20     sentence defendant is already serving for the SDNY convictions.             The

21     Court should reject the recommendation.

22             First, as explained above, defendant’s offense level is 37 (39

23     if acceptance of responsibility is denied) and his CHC is III,

24     resulting in an advisory guidelines range of 262-327 (or 324-405)

25     months.      Defendant’s guidelines range is not reduced to 240 by

26     operation of USSG § 5G1.3(d) as the USPO contends and no downward

27     departure based on over-statement of criminal history is appropriate.

28

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 1           Second, defendant’s sentence should not run concurrent to at

 2     least 24 months of the sentence imposed for the New York convictions.

 3     One of those convictions was for a violation of 18 U.S.C. § 1028A.

 4     That statute provides: “Notwithstanding any other provision of law .

 5     . . except [in circumstances not relevant here], no term of

 6     imprisonment imposed on a person under this section shall run

 7     concurrently with any other term of imprisonment imposed on that

 8     person under any other provision of law.” 18 U.S.C. § 1028A(b)(2).

 9           Third, the arguments advanced in support of a downward variance

10     are without merit.     The USPO recognizes the amount of loss is

11     accurate under the guidelines but argues that it should be mitigated

12     because “defendant should benefit from the legal work he successfully

13     performed to acquire settlements for his victim-clients.”            (Rec.

14     Letter at 9.)    But defendant did not perform this work -- whether

15     successful or not -- for his clients.         He hijacked their claims and

16     the work he did was not for their benefit but for his own, putting

17     the money he would eventually steal within his grasp.

18           The USPO also finds mitigating the “unstable and abusive

19     childhood” defendant “endured.”        (Rec. Let. at 9.)     The USPO’s view

20     of defendant’s upbringing is based on defendant’s current

21     description.34    Defendant, however, has made numerous public

22

23            Although both of defendant’s parents are alive, the USPO did
             34
       not interview either of them. The USPO “corroborated” defendant’s
24     statements by interviewing his first wife, Christine Avenatti-Carlin,
       who has no first-hand knowledge of the relevant facts. Moreover, she
25     was intimately involved in defendant’s criminal activity that
       resulted in defendant’s bail being revoked, specifically assisting
26     defendant in hiding over $700,000 from creditors and buying a car for
       defendant in her name. (CR 98.) Avenatti-Carlin’s other statements
27     in the PSR also demonstrate her bias (referring to defendant’s
       criminal convictions as “mistakes” and blaming defendant’s failure to
28     pay child support on the instant case (PSR ¶ 175) even though she
                                               (footnote cont’d on next page)
                                         42
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 1     statements throughout the last few years about his childhood, which

 2     paint an entirely different picture than what defendant now depicts

 3     to justify a lighter sentence.       For example, in March 2018, defendant

 4     described having fond memories of his middle-class upbringing in St.

 5     Louis; in May 2019, he maintained he lived a perfectly normal

 6     childhood in a middle-class family; and in February 2020, he

 7     described his childhood in a solid middle-class household during

 8     which he regularly went skiing, attended baseball games and races,

 9     drove go-carts, and went to racing school.35         Defendant’s childhood,

10     which defendant himself has conceded was less challenging than most

11     defendants’ experiences (PSR ¶ 162), does not justify a downward

12     variance.

13           The USPO also bases her variance recommendation on defendant’s

14     having had a “stable work history as an attorney” and being “a

15     devoted father to his children.”        (Rec. Let. at 9.)     Even if true,

16     these characteristics would be no more than what is expected of a

17     law-abiding member of society; they are hardly a reason for a

18     downward variance.     In any case, they aren’t completely true.

19     Defendant used his skills as a lawyer to defraud his clients.

20     Despite the money he earned as a lawyer, the money he stole from his

21     victim-clients, and the money he failed to pay in taxes for years,

22
       previously claimed that defendant had not been paying child support
23     for over a decade and owes over $5 million dollars in arrears (CR 448
       at 18).
24
            35 “Porn star Stormy Daniels’ lawyer graduated from Parkway
25     Central,” https://www.stltoday.com/news/local/columns/joe-
       holleman/porn-star-stormy-daniels-lawyer-graduated-from-parkway-
26     central/article_8ce4cfef-818e-58db-8250-a8f7d317effa.html; “I Flew
       Too Close to the Sun. No Question. Icarus”: Inside the Epic Fall of
27     Michael Avenatti,” https://www.vanityfair.com/news/2019/05/inside-
       the-epic-fall-of-michael-avenatti; Dinner with Racers Episode 155 –
28     Michael Avenatti, https://dinnerwithracers.com/ep-155-michael-
       avenatti/ at 11:30-17:15.
                                         43
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 1     defendant still, by his own admission, did not pay millions of

 2     dollars in child support for his children.         (CR 448 at 18; see also

 3     PSR ¶ 167.)

 4           The USPO bases her recommendation that the sentence in this case

 5     be imposed to run concurrently with the New York sentences on her

 6     belief that “the instant federal matter is an exponential punishment

 7     from past judgments” and that running the term in this case

 8     consecutively to the New York terms would be “an unreasonable

 9     incremental punishment.”      (Rec. Let. at 10.)      This conclusionary

10     assertion should be rejected.       It is true that defendant’s sentencing

11     exposure in this case is greater than the sentences imposed in the

12     New York cases but that is appropriate given the different facts.

13     For example, here, the wire fraud victims’ losses exceeded $12

14     million dollars and the tax loss exceeded $3 million, and there were

15     multiple victims who suffered substantial financial hardship and at

16     least one vulnerable victim, a paraplegic client; the victims in the

17     New York cases were a massive corporation whose losses were only its

18     attorney’s fees ($259,800) and a single individual whose actual

19     losses were under $150,000.

20     IV.   RESTITUTION

21           The Mandatory Victim Restitution Act, 18 U.S.C. § 3663A,

22     requires courts to order restitution to all identifiable victims of

23     applicable crimes who have suffered pecuniary loss. A “victim” is

24     defined as “a person directly and proximately harmed as a result of

25     the commission of an offense for which restitution may be ordered.”

26     18 U.S.C. § 3663A(a)(2). For scheme offenses such as wire fraud, this

27     includes “any person directly harmed by the defendant's criminal

28     conduct in the course of the scheme.” Id. “Section 3663 . .            .

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 1     provides that if the offense of conviction involves a scheme, . . .

 2     restitution may include all losses caused during the course of that

 3     scheme.” United States v. Thomsen, 830 F.3d 1049, 1064 (9th Cir.

 4     2016) (quoting United States v. Gamma Tech Indus., Inc., 265 F.3d

 5     917, 927 n.10 (9th Cir. 2001)).        Here, counts 5 and 8-10 to which

 6     defendant pleaded guilty involved a scheme.          Restitution is limited

 7     to the victims’ actual losses.       United States v. Gagarin, 950 F.3d

 8     596, 607 (9th Cir. 2020) (“Because the purpose of restitution is to

 9     put the victim back in the position he or she would have been but for

10     the defendant’s criminal conduct, the amount of restitution is

11     limited to the victim’s ‘actual losses’ that are a direct and

12     proximate result of the defendant’s offense.”) (Internal citations

13     and quotations omitted).

14           Section 3663A requires the Court to order full restitution

15     without regard to defendant’s economic situation.           18 U.S.C.

16     § 3664(f)(1)(A).     The Court must order full and immediate payment of

17     restitution, unless, in the interest of justice, the Court provides

18     for payment on a date certain or in installments.           18 U.S.C.

19     § 3572(d)(1).

20           Here, defendant was convicted of wire fraud, which is an offense

21     against property under Title 18 for purposes of § 3663A.            Therefore,

22     pursuant to 18 U.S.C. § 3663A, and to put the victims in the

23     positions they would have been but for defendant’s fraud, the

24     government requests that the Court order that defendant pay the

25     following restitution amounts to the following victims: $1,572,092 to

26     Geoffrey Johnson; $1,460,785 to Alexis Gardner; $598,887 to Gregory

27     Barela; and $4,000,000 to Michelle Phan.         (See attached declaration

28     of Special Agent Remoun Karlous and exhibits establishing these

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 1     amounts.)    Pursuant to 18 U.S.C. § 3664(j)(1), the Court must order

 2     the restitution to be paid to the victims first, with any amounts due

 3     to other parties be paid subsequently.

 4            The Court may order restitution as a condition of supervised

 5     release to the victim of any criminal offense, including those in

 6     Title 26, for which supervised release is properly imposed, limited

 7     to the count of conviction.       Batson, 608 F.3d at 633-37; see also

 8     USSG § 5E1.1(a)(2) (instructing courts to order restitution as a

 9     condition of supervised release when a defendant has been found

10     guilty of certain crimes that would include tax crimes under Title

11     26).    Although the Court could impose interest upon the restitution

12     up to the date of sentencing, the government only seeks restitution

13     for the unpaid taxes related to Count 19.         See Batson, 608 F.3d at

14     637; United States v. Gordon, 393 F.3d 1044, 1058-59 (9th Cir. 2004),
15     abrogated on other grounds by Lagos v. United States, 138 S. Ct. 1684
16     (2018).     Therefore, the government requests that the Court order
17     restitution in the amount of the unpaid payroll taxes for GBUS,
18     namely $3,207,144, to be paid to the IRS as a condition of supervised
19     release.    (PSR ¶ 73.)36

20     V.     CONCLUSION

21            For the foregoing reasons, the government recommends that the

22     Court sentence defendant to 210 months in prison on each of counts

23     5, 8, 9 and 10, to run concurrently to one another, and 36 months on

24     count 19, to run concurrently with the sentences imposed on counts

25     5, 8, 9 and 10, with all sentences to be consecutive to the

26

27            The government is not seeking a fine in addition to the
              36
       restitution because defendant appears to be currently unable to pay a
28     fine and unlikely to become able to pay a fine in addition to the
       restitution.
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 1     sentences imposed in the New York cases; a three-year period of

 2     supervised release; a mandatory special assessment of $500; and

 3     restitution in the amount of $7,631,764 due to the wire fraud

 4     victims and $3,207,144 to the IRS as a condition of supervised

 5     release.

 6

 7      Dated: October 11, 2022              Respectfully submitted,

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